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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 William Husel,

       Plaintiff,
                                          Case No. 23-10845
 v.                                       Honorable Jonathan J.C. Grey

 Trinity Health Corporation,

      Defendant.
 ______________________________/

            ORDER GRANTING DEFENDANT’S MOTION
                   TO DISMISS (ECF No. 5)

       Dr. William Husel filed a complaint for malicious prosecution

 against Trinity Health Corporation (“Trinity”) on April 12, 2023. Dr.

 Husel is a former physician who worked for five years in the Intensive

 Care Unit (“ICU”) at Mount Carmel West Hospital (“MC West”), a

 Trinity-owned hospital in Columbus, Ohio. This case arises from an

 investigation by Trinity into Dr. Husel’s practice of prescribing doses of

 opioids and benzodiazepines that were substantially higher than his

 peers’ practices. Dr. Husel claims that after its initial investigation,

 Trinity actively sought his indictment and prosecution by maliciously

 providing the Franklin County Prosecutor’s Office with knowingly

 inaccurate and misleading information and knowingly withholding
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 exculpatory evidence. Further, he claims Trinity instituted a public

 outreach campaign designed to lead to his indictment and prosecution.

       The filings and exhibits for this motion to dismiss are extensive.

 The complaint contains 62 exhibits for a total of 763 pages. The motion

 to dismiss contains 13 exhibits for a total of 655 pages. Because the Court

 rules on a narrow ground, many of the facts, claims, and exhibits are

 irrelevant to this opinion, and the Court will refer only to the relevant

 portions and issues.

       The Court finds that under the appropriate standard for a motion

 to dismiss, Dr. Husel failed to rebut the presumption that probable cause

 existed for his prosecution, a necessary element to his claim. Therefore,

 the Court GRANTS Trinity’s motion to dismiss and DISMISSES

 WITHOUT PREJUDICE Dr. Husel’s claim for malicious prosecution

 against Trinity.

 I.    Background

       The following are Dr. Husel’s allegations. Dr. Husel worked the

 night shift in the ICU at MC West for five years. In his role as a physician

 in the ICU, Dr. Husel was responsible for providing palliative care for

 patients who were too sick to recover and were unlikely to survive. As


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 part of that care, Dr. Husel used opioid medications and benzodiazepines

 to treat patients facing imminent death. The parties agree that the doses

 used by Dr. Husel for those medications were substantially higher than

 his peers’ practices. Dr. Husel claims that his practice did not violate any

 hospital policy or nationally accepted standard for using opioids to treat

 dying patients.

       In December 2018, MC West fired Dr. Husel and placed 13 nurses

 on leave. It also drastically changed its ICU policies after firing him.

 After an investigation, MC West discovered that Dr. Husel was using

 high doses of these medications for years. Officials at MC West then met

 with county prosecutors to report the findings. Dr. Husel claims that MC

 West reported to the prosecutors that it believed Dr. Husel had intended

 to hasten death by using high doses. He further claims that Trinity began

 a media and community outreach plan to focus negative attention on Dr.

 Husel. Dr. Husel claims that Trinity designed that plan specifically to

 encourage prosecution and convince the public that Dr. Husel had

 committed crimes as a rogue doctor.

       As part of that campaign, Trinity told patients’ family members

 that the patients had been overdosed by Dr. Husel. It presented stories


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 to the press that Dr. Husel had given potentially fatal doses of medication

 to patients. Then, it told the press that some of Dr. Husel’s patients might

 have survived. Further, Trinity advertised its cooperation with

 authorities through press releases to intentionally raise pressure on

 prosecutors to act against Dr. Husel.

       A grand jury was empaneled by the Franklin County Prosecutor’s

 Office. Dr. Husel claims that misleading testimony from Trinity

 representatives was presented to the grand jury, which intentionally left

 out material information to provide context to Dr. Husel’s use of high

 doses.

       In June 2019, the grand jury indicted Dr. Husel on twenty-five

 counts of intentional murder. However, in January 2022, the prosecution

 voluntarily dismissed eleven of the counts. On April 20, 2022, Dr. Husel

 was acquitted of the remaining fourteen counts. Dr. Husel then brought

 this action for a claim of malicious prosecution against Trinity.

 II.   Legal Standard

       The Court may grant a motion to dismiss under Federal Rule of

 Civil Procedure 12(b)(6) if the complaint fails to allege facts sufficient to

 “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.


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 Twombly, 550 U.S. 544, 555, 570 (2007)). When assessing a motion to

 dismiss under Rule 12(b)(6), the Court must give the plaintiff the benefit

 of the doubt and must accept all the complaint’s factual allegations as

 true. Keys v. Humana, Inc., 684 F.3d 605, 608 (6th Cir. 2012).

       But the Court will not presume the truth of any legal conclusions

 stated in the complaint. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). If the

 pleaded facts do not raise a right to relief, the Court must grant the

 motion to dismiss. Winnett v. Caterpillar, Inc., 553 F.3d 1000, 1005 (6th

 Cir. 2009).

       When deciding whether to dismiss a case, a court will generally rely

 only on the facts or claims stated in the complaint. Rondigo, L.L.C. v.

 Township of Richmond, 641 F.3d 673, 680 (6th Cir. 2011) (citations

 omitted). However, the Court may consider exhibits attached to the

 complaint, public records, and motion to dismiss attachments without

 converting the motion into one for summary judgment so long as the

 outside documents are referred to in the complaint and are central to the

 claims. Id.




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 III. Malicious prosecution

       The parties appear to agree that Ohio law controls the malicious

 prosecution claim. A claim for malicious prosecution under Ohio law has

 three elements: “(1) malice in instituting or continuing the prosecution,

 (2) lack of probable cause, and (3) termination of the prosecution in favor

 of the accused.” Bickerstaff v. Lucarelli, 830 F.3d 388, 397 (6th Cir. 2016)

 (quoting Trussell v. Gen. Motors. Corp., 559 N.E.2d 732, 736 (Ohio 1990)).

 As one Ohio Court noted, “actions for malicious prosecution have been

 met with marked disfavor by the [Ohio] courts.” Dailey v. First Bank

 Ohio, No. 04AP–1309, 2005 WL 1483678, at *5 (Ohio Ct. App. June 23,

 2005). To give proper effect to Ohio law, the Court will analyze this claim

 with the same “marked disfavor.” Id. Dr. Husel needs well-pleaded

 allegations for each element to survive a motion to dismiss. Of course, the

 Court also accepts all allegations as true and views the complaint in the

 light most favorable to Dr. Husel, as required for a motion to dismiss.

       Trinity claims that Dr. Husel has failed to plead a lack of probable

 cause. An indictment from a grand jury creates a presumption that

 probable cause existed for the prosecution. Gonzalez v. Kovacs, 687 F.

 App’x 466, 469 (6th Cir. 2017) (citing Barnes v. Wright, 449 F.3d 709, 716


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 (6th Cir. 2006)) (applying Ohio law). The presumption can be rebutted by

 a showing of substantial evidence. Bickerstaff, 830 F.3d at 397. A showing

 that the indictment resulted from perjured testimony or that the grand

 jury proceedings were significantly irregular can rebut the presumption. 1

 Id.

       Dr. Husel was indicted on the charges at issue here. While Dr.

 Husel comes close to making a claim that Trinity, through its staff or

 agents, provided perjured testimony to the grand jury, he never actually

 claims that perjury occurred. Dr. Husel makes claims that Trinity,

 through its staff, lied to the prosecutor’s office, the press, and individual

 patients. (See, e.g., ECF No. 1, PageID.3–4.) He also claims that the

 Franklin Prosecutor’s Office presented misleading testimony, which

 omitted material information, to the grand jury. (Id.) Dr. Husel further

 claims that testimony from officers and prosecutor statements show “that




 1 This presumption applies for claims of malicious prosecution under Ohio law and

 for federal § 1983 claims under the Fourth Amendment, otherwise known as
 “constitutional malicious prosecution.” King v. Harwood, 852 F.3d 568, 580 (6th Cir.
 2017). The constitutional malicious prosecution presumption can be rebutted by a
 showing of false statements, evidence, and omissions outside of any grand-jury
 testimony that were material to the prosecution. Id. at 591. However, under Ohio
 law, the only way to rebut the presumption is by showing misleading grand-jury
 testimony. Bickerstaff, 830 F.3d at 397.
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 the element of probable cause . . . was supplied by Dr. Roth2 and Trinity.”

 Further, Dr. Husel claims “the grand jury’s finding of probable cause to

 indict Dr. Husel of each of the 25 counts of murder was based upon false

 information provided by Trinity.”

       The claims made by Dr. Husel were like the ones made by the

 plaintiff in Bickerstaff. There, the allegations were that “the indictment

 was falsely obtained because the grand jury ‘was not presented truthful

 information by and/or was blocked by Defendants from knowing all of the

 material facts involving the allegations against Plaintiff.’” Bickerstaff,

 830 F.3d at 398. The court went on to say that the plaintiff had failed to

 point to any grand-jury proceedings or testimony to show how the

 proceedings were compromised. Id.

       Dr. Husel claims that exculpatory evidence was withheld from the

 grand jury; thus, he claims, the presumption should be rebutted.

 However, for purposes of malicious prosecution claims, the prosecutor is

 not required to present potentially exculpatory evidence to the grand

 jury. Baron v. Andolsek, No. 2003–L–005, 2004 WL 473261, at *3 n.1



 2 Dr. Daniel Roth was the Chief Medical Officer of Trinity and he allegedly assisted

 with the internal investigation of Dr. Husel and acted as a liaison with the
 prosecutor’s office.
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 (Ohio Ct. App. March 12, 2004) (citing Criss v. Kent, 867 F.2d 259, 263

 (6th Cir. 1988)).

       While Dr. Husel’s complaint insinuates that false or misleading

 information was presented to the grand jury, it never explicitly states

 who, as in which Trinity staff member, presented the false or misleading

 testimony nor explains how that testimony was relevant to the

 indictment. Dr. Husel cannot sustain his claim with this lack of

 specificity.

       Further, Dr. Husel makes no allegations that the grand jury

 proceedings were irregular. Thus, Dr. Husel has failed to plead

 allegations sufficient to show lack of probable cause. See Bickerstaff, 830

 F.3d at 397; Gonzalez v. Kovacs, 687 F. App’x 466, 469 (6th Cir. 2017)

 (requiring specific allegations that someone presented false testimony to

 the grand jury or other similar substantial evidence to rebut the

 presumption to survive a motion to dismiss). Since the Court finds that

 Dr. Husel’s complaint is deficient for lacking specific factual support, it

 DISMISSES his claim WITHOUT PREJUDICE.




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 VI.   CONCLUSION

       Accordingly, IT IS ORDERED that Trinity’s motion to dismiss

 (ECF No. 5) is GRANTED. Dr. Husel’s claim for malicious prosecution

 against Trinity is DISMISSED WITHOUT PREJUDICE.

       SO ORDERED.


                                           s/Jonathan J.C. Grey
                                           Jonathan J.C. Grey
 Date: March 28, 2024                      United States District Judge




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                             Certificate of Service
 The undersigned certifies that the foregoing document was served upon
 counsel of record and any unrepresented parties via the Court’s ECF
 System to their respective email or First-Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on March 28, 2024.


                                 s/ S. Osorio
                                Sandra Osorio
                                Case Manager




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